






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-05-034 CR


____________________



PATTY GAIL MONROE, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause No. 92478






MEMORANDUM OPINION (1)


	Patty Gail Monroe was convicted and sentenced on an indictment for theft.  Monroe
filed a notice of appeal on January 14, 2005.  The trial court entered a certification of the
defendant's right to appeal in which the court certified that this is a plea-bargain case and
the defendant has no right of appeal.  See Tex. R. App. P. 25.2(a)(2).  The trial court's
certification has been provided to the Court of Appeals by the district clerk.

	On January 25, 2005, we notified the parties that the appeal would be dismissed
unless an amended certification was filed within thirty days of the date of the notice and
made a part of the appellate record.  See Tex. R. App. P. 37.1.  The record has not been
supplemented with an amended certification.  Because a certification that shows the
defendant has the right of appeal has not been made part of the record, the appeal must be
dismissed.  See Tex. R. App. P. 25.2(d).

	Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.

								PER CURIAM


Opinion Delivered March 9, 2005

Do Not Publish

Before McKeithen, C.J., Kreger and Horton, JJ.
1. Tex. R. App. P. 47.4.


